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14   COMPANY 401(k) PLAN

15
                                 UNITED STATES DISTRICT COURT
16                              NORTHERN DISTRICT OF CALIFORNIA
                                      OAKLAND DIVISION
17
     JAMES MCMANUS,                                    Case No. 4:23-CV-05325-YGR
18
                       Plaintiff,                      DEFENDANTS’ REPLY
19                                                     MEMORANDUM IN SUPPORT OF
           v.                                          THEIR MOTION TO DISMISS
20                                                     AMENDED COMPLAINT PURSUANT
     THE CLOROX COMPANY; THE                           TO FED R. CIV. P. 12(B)(6)
21   EMPLOYEE BENEFITS COMMITTEE OF
     THE CLOROX COMPANY 401(k) PLAN; and               Date:      February 11, 2025
22   DOES 1 to 10 inclusive,                           Time:      2:00 p.m.
                                                       Courtroom: 1 – 4th Floor
23                     Defendants.                     Judge:     Hon. Yvonne Gonzalez Rogers

24                                                     Am. Complaint filed:   November 12, 2024

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 1                                              INTRODUCTION1

 2             Plaintiff’s shallowly amended FAC suffers from the same deficiencies that this Court

 3   identified previously—an overly broad interpretation of ERISA that departs from nearly four

 4   decades of settled rules regarding defined-contribution plans understood by Congress, the

 5   Treasury Department, and plans across the country.

 6             Plaintiff asked to amend so he could add new factual allegations plausibly suggesting

 7   disloyal or imprudent conduct. MTD Tr. 5. This Court permitted Plaintiff to do so but made clear

 8   that it did not agree that ERISA’s fiduciary duties require retirement plan fiduciaries to use

 9   forfeited employer contributions to pay for administrative costs rather than to fund participant

10   benefits. Plaintiff proceeded to amend his pleading, but as Defendants’ motion to dismiss pointed

11   out, the FAC’s theory of breach is still in substance just as broad as the one this Court previously

12   rejected: it asserts that ERISA requires retirement plan fiduciaries to use forfeitures to pay for

13   administrative costs absent a vanishingly rare situation in which the plan sponsor is in such dire

14   financial straits that it will default on its contribution obligations. Moreover, the FAC offers no

15   new facts at all. Instead, it provides only new conclusory statements and legal assertions.

16             Critically, Plaintiff’s opposition does not meaningfully dispute any of this. Instead,

17   Plaintiff largely abandons his risk-of-default theory and pivots to still a third theory of breach: that

18   ERISA’s fiduciary provisions do not always require forfeitures to be used to provide participants

19   with free or highly subsidized plan services, but they compel that outcome where the plan

20   document gives fiduciaries flexibility about how to allocate forfeited employer contributions.

21             There are numerous problems with Plaintiff’s approach—even putting aside the fact that it

22   indicates the FAC is really just a thinly veiled motion for reconsideration. Plaintiff tries to suggest

23   that his current theory is narrow because it applies only when a plan document gives fiduciaries

24   discretion. But if Plaintiff’s rule kicks in whenever a defendant is acting as a fiduciary, that is just

25   another way of saying that ERISA’s fiduciary provisions require Plaintiff’s preferred forfeiture-

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     1
       This brief uses the same abbreviations or defined terms used in Defendants’ motion to dismiss
27   (“MTD”). Plaintiff’s opposition brief is abbreviated “Opp.” The transcript from this Court’s
     October 29, 2024 motion to dismiss hearing is abbreviated “MTD Tr.”
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 1   allocation outcome—an argument this Court already rejected. Moreover, this theory once again

 2   means that fiduciary “choice” under Plaintiff’s interpretation is a one-way ratchet: once discretion

 3   over forfeitures is granted, it can be exercised in only one way—to pay for administrative

 4   expenses, a benefit that participants were never promised and do not expect to receive. That

 5   makes no sense and, again, is precisely the type of overly broad theory this Court previously

 6   rejected.

 7          This theory also raises eyebrows because it contradicts Plaintiff’s prior representations to

 8   this Court. Plaintiff previously argued at length that under binding Supreme Court precedents,

 9   ERISA’s fiduciary duties trump the terms of a plan document and therefore fiduciaries who

10   decline to use forfeitures to subsidize administrative expenses “cannot hide behind the plan terms

11   to immunize [their] decision-making from ERISA scrutiny.” ECF No. 27, at 24-26. Now,

12   Plaintiff says that plan sponsors can write their plans to forbid fiduciaries from using forfeitures to

13   subsidize administrative expenses and then fiduciaries are immune from suit, but if plan sponsors

14   instead write their plans using the same language the Treasury Department has used for decades,

15   then ERISA’s fiduciary provisions operate to give beneficiaries a substantive right to free or

16   highly subsidized administrative services. Opp. 9-10. That is as wrong as it sounds. A theory

17   that requires Plaintiff to contradict his prior representations about how ERISA works is not a

18   principled theory at all—and certainly not one grounded in ERISA’s text, structure, and

19   congressional objectives.

20          As this Court has already recognized, ERISA’s objective is to ensure that plan participants

21   are provided with the benefits they were promised “and to assure reliance on the face of written

22   plan documents,” MTD Order 9 (citation omitted), “not to give [plaintiffs] a windfall,” Henry v.

23   Champlain Enters., Inc., 445 F.3d 610, 624 (2d Cir. 2006) (Sotomayor, J.). Plaintiff does not

24   dispute that he received exactly what he was promised under the Plan, and nothing in ERISA

25   required the Clorox Plan fiduciaries to find ways to expand his benefits beyond what he was

26   promised or expected to receive. This Court should dismiss Plaintiff’s FAC with prejudice.

27

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 1                                              ARGUMENT

 2   I.     Plaintiff does not meaningfully dispute the lack of new well-pleaded factual
            allegations plausibly suggesting disloyalty or imprudence.
 3

 4          Defendants offered two simple arguments for why dismissal is required First, the risk-of

 5   underfunding theory advanced in the FAC is just as impermissibly broad as the categorical theory

 6   of breach this Court already rejected. MTD 11-13. Second, Plaintiff’s FAC offered no

 7   “particularized facts or special circumstances” plausibly suggesting fiduciary malfeasance as this

 8   Court’s prior order instructed (MTD Order 10), and instead offered only conclusory allegations of

 9   imprudence or “conflicts of interest” (MTD 13-15).

10          Plaintiff’s opposition does not meaningfully contest either argument. As to the first

11   argument, Plaintiff’s opposition effectively abandons the FAC’s risk-of-underfunding theory

12   rather than defends it. His opposition offers no argument whatseover for why the risk of a plan

13   sponsor’s default modifies the operation of ERISA’s fiduciary provisions. Instead, it offers yet

14   another new theory, which is not found in Plaintiff’s original complaint or the FAC—that

15   Clorox’s mistake was in not writing the Plan document in a way that would forbid Plan fiduciaries

16   from having any flexibility about how to allocate forfeited employer contributions. Opp. 9-10.

17          As to the second argument, Plaintiff’s opposition again offers no substantive response.

18   Instead, Plaintiff simply recites the conclusory allegations included in the FAC without even

19   attempting to argue that they contain well-pleaded facts rather than labels and conclusions.

20   Compare FAC ¶¶ 26-28, 58 (conclusory allegations), with Opp. 3, 8 (reciting same). Indeed,

21   rather than point to any well-pleaded facts in support of his claims, he suggests that prudence and

22   disloyalty claims are inherently fact-intensive, and so as long as an ERISA plaintiff asserts an

23   imprudent or disloyal process in conclusory terms, the claims are unsuitable for resolution on a

24   motion to dismiss. Opp. 7 (loyalty claim “cannot be resolved on a motion to dismiss”); Opp. 8

25   (“rarely” appropriate to resolve a prudence claim “prior to trial”). One need look no further than

26   this Court’s prior order dismissing Plaintiff’s prudence and loyalty claims to see that this argument

27   is a non-starter. See also Wright v. Or. Metallurgical Corp., 360 F.3d 1090, 1096 (9th Cir. 2004)

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 1   (affirming dismissal of fiduciary-breach claims). Indeed, it completely ignores the Supreme

 2   Court’s directive that the Rule 12(b)(6) motion is an “important mechanism for weeding out

 3   meritless claims” asserting a breach of ERISA’s fiduciary provisions. Fifth Third Bancorp v.

 4   Dudenhoeffer, 573 U.S. 409, 425 (2014).

 5           The lack of well-pleaded facts in Plaintiff’s “conflict of interest” allegations is particularly

 6   conspicuous because “flesh[ing] out … the conflict of interest issue” was the sole basis Plaintiff

 7   offered at this Court’s prior hearing for wanting an opportunity to file an amended complaint.

 8   MTD Tr. 5. But the FAC’s conclusory assertion that Plan fiduciaries were “conflicted” seems to

 9   be based entirely on the fact that they were employees or officers of Clorox, the plan sponsor.

10   FAC ¶¶ 28, 31-32; Opp. 3. As Defendants’ motion to dismiss pointed out, however, and as the

11   Ninth Circuit has recognized, ERISA expressly permits a plan sponsor’s officers and employees to

12   serve as plan fiduciaries. MTD 13; 29 U.S.C. § 1002(14)(A); id. § 1108(c)(3); Wright, 360 F.3d at

13   1093. Plaintiff’s suggestion that Defendants should have appointed an independent fiduciary to

14   avoid a fiduciary-breach claim would completely nullify those express statutory provisions.

15   Again, Plaintiff offers no response.

16           Plaintiff’s complete failure to address these arguments or point to any well-pleaded new

17   facts plausibly supporting his claims is reason enough to grant Defendants’ motion. Indeed, the

18   fact that Plaintiff’s brief points to no new allegations but rather pivots to a yet a third legal theory

19   of breach strongly suggests that Plaintiff’s FAC is not an amended complaint at all; instead, it is a

20   motion for reconsideration improperly framed as a complaint. In any event, Plaintiff’s new breach

21   theory fails on its own terms for the reasons described below.

22   II.     Plaintiff’s third interpretation of ERISA’s fiduciary provisions is just as
             impermissibly broad as his original theory.
23

24           Plaintiff does not substantively dispute that the risk-of-default theory of fiduciary breach

25   advanced in the FAC would still interpret ERISA’s fiduciary provisions to effectively forbid what

26   ERISA plans expressly permit—the use of forfeitures to pay plan benefits—and what Congress

27   and the Treasury Department have long understood is lawful and common practice. MTD 3, 4, 6,

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 1   7 n.7. Instead, he pivots to a new theory that he suggests is much more modest: he contends that it

 2   is perfectly acceptable for a plan sponsor to “require[e]” fiduciaries to apply forfeitures to

 3   employer contributions, and Clorox “could amend the Plan” to reach that outcome. Opp. 9-10.

 4   But if the plan document gives fiduciaries a choice about how to allocate forfeitures, ERISA’s

 5   fiduciary duties of prudence and loyalty require that choice to be exercised in a way that provides

 6   participants with more benefits than the Plan promised them. Id.

 7          That theory fails for the same reason this Court rejected Plaintiff’s claims the first time

 8   around: it would interpret ERISA’s fiduciary duties as going beyond “protect[ing] contractually

 9   defined benefits” (MTD Order 9) and instead would improperly require fiduciaries “to maximize

10   pecuniary benefits” enjoyed by participants and “resolve every issue of interpretation in favor of

11   plan beneficiaries.” Wright, 360 F.3d at 1100; accord Collins v. Pension & Ins. Comm. of S. Cal.

12   Rock Prod. & Ready Mixed Concrete Associations, 144 F.3d 1279, 1282 (9th Cir. 1998); Rozo v.

13   Principal Life Ins. Co., 48 F.4th 589, 598 (8th Cir. 2022); Foltz v. U.S. News & World Rep., Inc.,

14   865 F.2d 364, 373 (D.C. Cir. 1989) (“Section 404 creates no exclusive duty of maximizing

15   pecuniary benefits. Under ERISA the fiduciaries' duties are found largely in the terms of the plan

16   itself.”). And Plaintiff’s reassurance that his rule kicks in only when fiduciary duties attach is no

17   limitation at all—the case law this Court relied upon in previously rejecting Plaintiff’s theory of

18   breach as impermissibly broad were about the scope of ERISA’s fiduciary duties. See MTD Order

19   9-10 (citing Collins, 144 F.3d at 1282, and Dudenhoeffer, 573 U.S. at 425). The same is true of

20   the case law Judge Freeman relied on in Hutchins v. HP Inc., 737 F. Supp. 3d 851, 863 (N.D. Cal.

21   2024) (collecting authorities).

22          Moreover, Plaintiff’s theory would make the grant of fiduciary discretion a one-way

23   ratchet: under that theory, if a plan document were to provide fiduciaries with a choice about how

24   to allocate forfeited employer contributions (eto pay plan benefits or to pay plan expenses),

25   ERISA’s fiduciary obligations would automatically nullify that choice by requiring the fiduciaries

26   to allocate forfeitures to pay plan expenses because that decision would maximize the benefits

27   participants receive. Opp. 10. That makes no sense as a matter of statutory interpretation—

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 1   particularly not when paying plan benefits is one of the specifically enumerated appropriate uses

 2   of plan assets in ERISA itself, 29 U.S.C. § 1104(a)(1)(A).

 3           Plaintiff resists this common-sense understanding, contending that ERISA does require

 4   fiduciaries to “maximize retirement savings when managing plan assets.” Opp. 10 (capitalization

 5   altered). But the cases Plaintiff relies on address duties imposed on fiduciaries when they manage

 6   plan investments held in participants’ individual retirement accounts. The whole point of plan

 7   investments is to fund participants’ retirements, and so managing those assets to maximize

 8   retirement savings is “protect[ing] contractually defined benefits.” MTD Order 9. Those cases

 9   say nothing about how fiduciaries must allocate employer contributions that were effectively

10   abandoned by departing employees, much less about whether fiduciaries must look for ways to

11   expand participant benefits beyond what a plan provides and what participants expect to receive.

12           Plaintiff also contends that it is irrelevant that Defendants applied forfeitures in a way that

13   is specifically enumerated in ERISA—to fund plan benefits—because ERISA additionally

14   requires fiduciaries to act solely in participants’ interests, rather than out of self interest or some

15   other improper motivations. Opp. 12-13. But using forfeited contributions to pay benefits as

16   specifically permitted under the Plan document is acting in the interests of participants. And in

17   any event, Plaintiff offers no well-pleaded factual allegations that Plan fiduciaries were acting out

18   of self interest or improper motivation—as noted above, Defendants’ motion explained that

19   Plaintiff’s allegations of improper motivation were wholly conclusory, and Plaintiff’s opposition

20   offered no rejoinder to that argument. See supra p. 3-4.

21           Ultimately, the role of an ERISA fiduciary, much like the role of a common-law trustee, is

22   to effectuate the settlor’s intent. Firestone Tire & Rubber Co. v. Bruch, 489 U.S. 101, 112 (1989)

23   (quoting Restatement (Second) of Trusts § 4, Comment d (1959)); see also Est. of Ellingson v.

24   Comm'r, 964 F.2d 959, 963, 965 (9th Cir. 1992). Plaintiff does not attempt to argue that Clorox’s

25   intent here was for Plan participants to receive free or highly subsidized administrative services.

26   To the contrary, Plaintiff implicitly assumes the opposite—he affirmatively acknowledges that

27   Plan participants understand they would bear the costs of administrative expenses through

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 1   quarterly deductions from their individual accounts (FAC ¶ 23) and points out that Clorox “could

 2   amend the Plan to require that forfeitures be used to reduce Clorox’s contributions” and achieve

 3   precisely the outcome Defendants seek here (Opp. 9-10). In other words, he suggests that plan

 4   fiduciaries were effectuating Clorox’s intent and that the problem is inartful drafting—that by

 5   echoing the language that the Treasury Department and Congress have used for many years to

 6   make clear that forfeitures can lawfully be used to reduce employer contributions or to pay

 7   administrative expenses,2 Clorox inadvertently hamstrung Plan fiduciaries’ authority to use

 8   forfeitures in that very manner. Again, that makes no sense as an interpretation of ERISA or of

 9   the Plan document.

10             There are good reasons why a plan sponsor might give plan fiduciaries responsible for

11   allocation forfeitures this kind of flexibility (rather than dictating that all forfeitures be used for

12   employer contributions)—and good reasons why plan fiduciaries would reasonably interpret this

13   language not to compel them to provide participants with benefits they have not been promised

14   and do not expect to receive. Most importantly, this type of flexibility is necessary because

15   retirement plans governed by the Tax Code (which all ERISA plans are) have long understood that

16   they are not permitted to keep unallocated forfeitures sitting in plans; instead, the Treasury

17   Department instructs plans that they are required to use or allocate forfeitures “in the plan year

18   incurred,” or else they can lose their “qualified” status (i.e., their eligibility for significant tax

19   breaks). Treasury Department, Retirement News 4. Depending on how many employees leave in

20   a given year before their benefits vest, what the current employer contribution levels are, when

21   forfeitures arise, when employer contributions are made, and when administrative expenses are

22   due, it may make more sense to use forfeitures to fund administrative expenses than fund

23   employer contributions—particularly since many plan sponsors, including Clorox, often pay some

24   administrative expenses. MTD 4 (citing Plan’s public filings). Nothing in ERISA compels plan

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     2
      See, e.g., Dep’t of the Treasury, Internal Rev. Serv., Retirement News for Employers 4-5,
26   Publication 4278-B (May 2010), https://www.irs.gov/pub/irs-pdf/p4278.pdf (“Treasury
     Department, Retirement News”); Forfeitures, Internal Revenue Manual § 7.12.1.9 (Feb. 16, 2017),
27   https://www.irs.gov/irm/part7/irm_07-012-001#idm139730277532416; H.R. Rep. No. 99-841,
     Vol. II at 442 (1986); see also 88 Fed. Reg. 12282, 12283 (Feb. 27, 2023).
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 1   fiduciaries to read this discretion-conferring language to eliminate flexibility and instead impose a

 2   duty to enhance participant benefits beyond what they are promised in the Plan document—

 3   particularly when there is every indication that the Plan sponsor intended exactly the opposite. See

 4   MTD Order 9 (ERISA does not “require a fiduciary to resolve every issue of interpretation in

 5   favor of plan beneficiaries” (citing Collins, 144 F.3d at 1282)).3 Accordingly, Plaintiff’s new

 6   theory of breach is just as implausible as the theory this Court previously rejected.

 7   III.      Plaintiff’s new theory squarely contradicts his prior arguments and representations.

 8             Although Plaintiff’s inadequate pleading and the implausibility of his fiduciary-breach

 9   theory are sufficient to dismiss his claims with prejudice, one last point bears mention: Plaintiff’s

10   opposition is completely irreconcilable with the prior arguments and representations Plaintiff

11   made to this Court in his opposition to Defendants’ first motion to dismiss. At minimum, that

12   makes this new theory immediately suspect.

13             As noted above, Plaintiff’s opposition brief seeks to reassure the Court that Plaintiff’s

14   theory is modest—that plan sponsors can write plan documents to use forfeitures in whatever way

15   they wish, and if they do so ERISA’s fiduciary provisions impose no limits on the use of

16   forfeitures. But if plan sponsors write their plan documents to allow plan fiduciaries to allocate

17   forfeitures either toward employer contributions or toward administrative expenses, Plaintiff says,

18   ERISA’s fiduciary provisions require forfeitures to be used to lower participant costs and increase

19   participant benefits. Opp. 9-10. In opposing Defendants’ first motion to dismiss, though, Plaintiff

20   said essentially the opposite. He argued that, “[b]y statute, the Committee had a fiduciary duty to

21   defray the Plan’s expenses,” that the terms of a plan “cannot override” those fiduciary duties, and

22   that the Supreme Court’s decision in Dudenhoeffer “h[olds] that fiduciaries are obligated to

23   deviate from plan terms where necessary to comply with their fiduciary duties.” ECF No. 27, at

24
     3
       Pilkington PLC v. Perelman, 72 F.3d 1396 (9th Cir. 1995), which Plaintiff cites (at 13) does not
25   support Plaintiff’s broad argument. The plaintiffs in Pilkington alleged that plan fiduciaries had
     spent the assets allocated to fund participants’ retirement on an unwise and risky annuity product
26   that ultimately failed, and did so in order to save the plan sponsor money—i.e., they deprived the
     participants of the benefits they had been promised. Id. at 1396-1397. Pilkington does not
27   suggest, much less hold, that plan fiduciaries must interpret and apply plan provisions to provide
     participants with more benefits than they were promised or expect.
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 1   24 (plan fiduciaries “cannot hide behind the plan terms to immunize [their] decision-making from

 2   ERISA scrutiny” (citation omitted)).

 3          Plaintiff’s about face extends to his characterizations of Ninth Circuit precedent—in

 4   particular, the Ninth Circuit’s opinion in Wright, which held that ERISA’s fiduciary obligations do

 5   not compel plan fiduciaries to pursue benefits for participants that exceed those promised by the

 6   plan. 360 F.3d at 1100. In Plaintiff’s earlier opposition brief, he argued that Wright should be

 7   disregarded in light of the Supreme Court’s subsequent decision in Dudenhoeffer, which he said

 8   “held that the duty of prudence trumps the instructions of a plan document.” ECF No. 27, at 25

 9   (quotation marks omitted)). But now, he sings a different tune—he does not contest that Wright is

10   good law but instead argues that it “is simply not implicated here” because it applies only where

11   an ERISA plaintiff is faulting a fiduciary for failing to violate a plan document, and not where a

12   plan document gives fiduciaries options. Opp. 11.

13          In some ways, it does not even matter whether Plaintiff’s characterizations of ERISA were

14   right then or whether they are right now—the fact that his new theory requires him to disavow his

15   old arguments should raise eyebrows. A theory that requires Plaintiff to contradict his prior

16   representations about ERISA’s text and structure is not a principled theory at all.

17                                          *      *         *      *

18          At bottom, under Plaintiff’s new theory his claims boil down either to the proposition that

19   the plan was either drafted inartfully, or that ERISA’s fiduciary provisions require fiduciaries to

20   look for ways to increase employee benefits beyond what was promised whenever the plan sponsor

21   gives them flexibility about how to use forfeited employer contributions. Neither is a viable theory

22   of a breach of ERISA’s fiduciary duties of prudence and loyalty. And neither offers the type of

23   particularized facts of disloyalty or specialized circumstances regarding the fiduciaries’ actions that

24   the Court said would be required to sustain Plaintiff’ claims.

25                                              CONCLUSION

26          For the foregoing reasons, Plaintiff’s FAC should be dismissed with prejudice.

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      Defendants’ Reply In Support of Their Motion to                        Case No. 4:23-CV-05325-YGR
      Dismiss Class Action Complaint
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 1   Dated: January 24, 2025                           Respectfully submitted,

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17                                                     THE CLOROX COMPANY; THE EMPLOYEE
                                                       BENEFITS COMMITTEE OF THE CLOROX
18                                                     COMPANY 401(k) PLAN
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     Defendants’ Reply In Support of Their Motion to                         Case No. 4:23-CV-05325-YGR
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 1                                    CERTIFICATE OF SERVICE

 2          I hereby certify that I electronically filed the foregoing with the Clerk of the Court for the

 3   United States District Court for the Northern District of California by using the CM/ECF system

 4   on January 24, 2025. I further certify that all participants in the case are registered CM/ ECF

 5   users and that service will be accomplished by the CM/ECF system.

 6          I certify under penalty of perjury that the foregoing is true and correct. Executed on

 7   January 24, 2025.
                                                                     /s/ Jaime A. Santos
 8                                                                   Jaime A. Santos
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      Defendants’ Reply In Support of Their Motion to                         Case No. 4:23-CV-05325-YGR
      Dismiss Class Action Complaint
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